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                                                                             VANESSA L ARMSTRONG, CLERK

                                                                                   DEC 2 1 2018
                                 UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF KENTUCKY                U.S. DISTRICT COURT
                                         AT LOUISVILLE                      WESTN. DISt KENTUCKY
UNITED STATES OF AMERICA                                                                  PLAINTIFF


v.                                                                     CRIMINAL NO. 3 ·. llJ-(X- l\t4-R_


KYLE WILLETT                                                                            DEFENDANT


                                          PLEA AGREEMENT

        Pursuant to Rule ll(c)(l)(B) of the Federal Rules of Criminal Procedure, the United

States of America, by John E. Kuhn, Jr. , United States Attorney for the Western District of

Kentucky, and defendant, Kyle Willett, and his attorney, Brian Butler, have agreed upon the

following:

        1.          Defendant agrees to waive Indictment by the grand jury and to plead guilty to a

felony Information which will be filed against defendant by the United States Attorney for the

Western District of Kentucky. That Information will charge defendant with a violations of Tile

18, United States Code, Section 659 (Theft from Interstate Shipment)

        2.          Defendant has read the charges against him contained in the Information, and

those charges have been fully explained to him by his attorney. Defendant fully understands the

nature and elements of the crimes with which he has been charged.

        3.          Defendant will enter a voluntary plea of guilty to Count 1 in this case. Defendant

will plead guilty because he is in fact guilty of the charge. The parties agree to the following

factual basis for this plea:

        Louisville Metropolitan Police Department Detective Kyle Willett did steal cash from a

United~         Parcel shipping sorting facility in Louisville, Kentucky, while working a drug
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             /J!;
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                      interdiction task force officer. From January 2016 through August 2016, Willett while working

                      as an interdiction task force officer would identify UPS packages that he identified as possible

                      containing cash.        He would then take the package to his vehicle and open it. On a number of

                      occasions, he then stole the contents of the package. During this period, he stole approximately

                      $74,745.99.

                                4.       Defendant understands that the charge to which he will plead guilty carries a

                      maximum term of imprisonment of 10 years, a maximum fine of$250,000, and a three-year term

                      of supervised. Defendant understands that an additional term of imprisonment may be ordered if

                      the terms of the supervised release are violated, as explained in 18 U.S.C. § 3583. Defendant

                      understands that as a result of the charge to which he will plead guilty,he may be ordered to

                      forfeit proceeds traceable (directly and indirectly) to such violation, including but not limited to:

                      a) $72 ,000 in United States Currency; b) $520.00 in United States Currency; and c) $2,225 .99

                      in United States Currency.

                               5.        Defendant understands that if a term of imprisonment of more than one year is

                      imposed, the Sentencing Guidelines require a term of supervised release and that he will then be

                      subject to certain conditions of release. §§5D 1.1, 5D 1.2, 5D1.3 .

                               6.        Defendant understands that by pleading guilty, he surrenders certain rights set

                      forth below. Defendant's attorney has explained those rights to him and the consequences of his

                      waiver of those rights, including the following:

                                         A.       If defendant persists in a plea of not guilty to the charge[ s] against

                               him, he has the right to a public and speedy trial. The trial could either be a jury

                               trial or a trial by the judge sitting without a jury. If there is a jury trial, the jury

                               would have to agree unanimously before it could return a verdict of either guilty



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        or not guilty. The jury would be instructed that defendant is presumed innocent

        and that it could not convict him unless, after hearing all the evidence, it was

       persuaded of defendant's guilt beyond a reasonable doubt.

                B.       At a trial, whether by a jury or a judge, the United States would be

       required to present its witnesses and other evidence against defendant. Defendant

       would be able to confront those government witnesses and his attorney would be

       able to cross-examine them. In tum, defendant could present witnesses and other

       evidence in his own behalf. If the witnesses for defendant would not appear

       voluntarily, he could require their attendance through the subpoena power of the

       Court.

                C.     At a trial, defendant would have a privilege against self-

       incrimination and he could decline to testify, without any inference of guilt being

       drawn from his refusal to testify. If defendant desired to do so, he could testify in

       his own behalf.

       7.       Defendant understands that the United States Attorney's Office has an obligation

to fully apprise the District Court and the United States Probation Office of all facts pertinent to

the sentencing process, and to respond to all legal or factual inquiries that might arise either

before, during, or after sentencing. Defendant admits all acts and essential elements of the

indictment counts to which he pleads guilty.

       8.       Defendant acknowledges liability for the special assessment mandated by 18

U.S.C. § 3013 and will pay the assessment in the amount 100 per count for felony offenses

involving individuals of 100 to the United States District Court Clerk's Office by the date of

sentencing.



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       9.      At the time of sentencing, the United States will

              -recommend a reduction of 2 [3 ] levels below the otherwise
              applicable Guideline for "acceptance of responsibility" as provided
              by §3E l.l (a) [and (b)], provided the defendant does not engage in
              future conduct which violates any federal or state law, violates a
              condition of bond, constitutes obstruction of justice, or otherwise
              demonstrates a lack of acceptance of responsibility. Should such
              conduct occur and the United States, therefore, opposes the
              reduction for acceptance, this plea agreement remains binding and
              the defendant will not be allowed to withdraw his plea. (Note:
              remember the additional one point can be given only when the
              offense level is 16 or above prior to the 2-point r eduction for
              acceptance) (See USSG §3E l.l, Comment note 6).


              -demand fprfeiture of the proceeds of the charge, including but not
              limited to: a) $72,000 in United States Currency; b) $520.00 in
              United States Currency; and c) $2 ,225.99 in United States
              Currency.


       10.    Both parties have independently reviewed the Sentencing Guidelines applicable in

this case, and in their best judgment and belief, conclude as follows: [OPTIONAL]

              A.      The Applicable Offense Level should be determined as follows:

              USSG § 2B l.l(a)(l) [base offense level]:                     6
              USSG § 2B l.l(b)(l) [loss more than $40,000]                 +6
              USSG § 3Bl.3 [position of trust]                             +2

              USSG § 3El.l(a) [acceptance]                                 -2

              Total Offense Level:                                         12

              B.      The Criminal History of defendant shall be determined upon

       completion of the presentence investigation, pursuant to Fed. R. Crim. P. 32(c).

       Both parties reserve the right to object to the USSG §4Al .l calculation of

       defendant 's criminal history.




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                             C.      The foregoing statements of applicability of sections of the

                     Sentencing Guidelines and the statement of facts are not binding upon the Court.

                     The defendant understands the Court will independently calculate the Guidelines

                     at sentencing and defendant may not withdraw the plea of guilty solely because

                     the Court does not agree with either the statement of facts or Sentencing

                     Guideline application.

                     11.     Defendant is aware of his right to appeal his conviction and that 18 U.S.C . § 3742

              affords a defendant the right to appeal the sentence imposed. Unless based on claims of

              ineffective assistance of counsel or prosecutorial misconduct, the Defendant knowingly and

              voluntarily waives the right (a) to directly appeal his conviction and the resulting sentence

              pursuant to Fed. R. App. P. 4(b) and 18 U.S.C . § 3742, and (b) to contest or collaterally attack

              his conviction and the resulting sentence under 28 U.S.C. § 2255 or otherwise.

                                              CRIMINAL FORFEITURE 12-16

                     12.      This Agreement is entered into by the United States on the basis of the express

              representation of defendant that he is making a full and complete disclosure of all assets over

              which he exercises control.     Defendant agrees to the forfeiture of any interest he or his

              nominees may have in the proceeds of the violation to which he is pleading guilty, including the

              following assets which he owns or over which he exercises control: a) $72,000 in United States

              Currency; b) $520.00 in United States Currency; and c) $2,225 .99 in United States Currency.

                     13.     Defendant acknowledges and agrees that the assets listed above may be forfeited

              in an administrative forfeiture proceeding, civil forfeiture proceeding or in criminal forfeiture

              proceedings, which is the sole choice of the United States.




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        14.    By this Agreement, defendant agrees to forfeit all interests in the properties listed

in paragraph 13 above and to take whatever steps are necessary to pass clear title to the United

States. These steps include but are not limited to surrender of title, the signing of a consent

decree, a stipulation of facts regarding the transfer and basis for the forfeitures and signing any

other documents necessary to effectuate such transfers.

        15.    Defendant agrees to waive any double jeopardy challenges that defendant may

have to any administrative or civil forfeiture actions arising out of the course of conduct that

provide the factual basis for this Indictment. Defendant further agrees to waive any double

jeopardy challenges that defendant may have to the charges in this Indictment based upon any

pending or completed administrative or civil forfeiture actions.

       16.     Defendant waives and agrees to waive any rights under the Speedy Trial Act and

understands and agrees that sentencing may be delayed until the cooperation phase has been

completed and title to all assets has fully vested in the United States. The reason for such waiver

is so that at sentencing the Court will have the benefit of all relevant information.

       17.     The defendant hereby waives all rights, whether asserted directly or by a

representative, to request or receive from any department or agency of the United States any

records pertaining to the investigation or prosecution of this case, including without limitation

any records that may be sought under the Freedom of Information Act, 5 U.S .C. § 552, or the

Privacy Act of 1974, 5 U.S .C. § 552a.

       18.     It is understood that pursuant to Fed. R. Crim. P. ll(c)(l)(B), the

recommendations of the United States are not binding on the Court. In other words, the Court is

not bound by the sentencing recommendation and defendant will have no right to withdraw his




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guilty plea if the Court decides not to accept the sentencing recommendation set forth in this

Agreement.

        19.     Defendant agrees that the disposition provided for within this Agreement is fair,

taking into account all aggravating and mitigating factors. Defendant states that he has informed

the United States Attorney's Office and the Probation Officer, either directly or through his

attorney, of all mitigating factors.

        20.     This document and the supplemental plea agreement state the complete and only

Plea Agreements between the United States Attorney for the Western District of Kentucky and

defendant in this case, and are binding only on the parties to this Agreement, supersedes all prior

understandings, if any, whether written or oral, and cannot be modified other than in writing that

are signed by all parties or on the record in Court. No other promises or inducements have been

or will be made to defendant in connection with this case, nor have any predictions or threats

been made in connection with this plea.

AGREED:

JOHN E. KUHN, JR.
United States Attorney

By:

                                                                          IJ-(IDff I
Bryan Calhoun                                                                       Date
Assistant United States Attorney




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       I am the defendant's counsel. I have carefully reviewed every part of this Agreement
with the defendant. To my knowledge my client's decision to enter into this Agreement is an
informed and voluntary one.

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                                                                  Date
Counsel for Defendant


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